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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Great American Insurance Company, et al.
                                             Plaintiff,
v.                                                        Case No.: 1:17−cv−03083
                                                          Honorable Sharon Johnson
                                                          Coleman
State Parkway Condominium Association,
et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 25, 2018:


       MINUTE entry before the Honorable Sharon Johnson Coleman: Third Party
Defendant Defendant Harleysville Lake States Insurance Company's agreed motion for
extension of time to answer or otherwise plead to State Parkway Condominium
Association';s third party complaint [66] is granted. Responsive pleading due by
2/28/2018. No appearance necessary on 1/30/2018. Mailed notice. (ym, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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